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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION


 AL WELCH
                                                   CR 414-231
        V.                                         CV 410-159


 UNITED STATES OF AMERICA



                                        ORDER


        After an independent review ofthe record, the Court concurs with the Magistrate

 Judge's Report and Recommendation,to which no objections have been filed.

 Accordingly,the Report and Recommendation ofthe Magistrate Judge is adopted as the

 opinion ofthe Court.

        So ORDERED,this                         p^ary, 2017.




                                     rODBEY WOOD,CHIEF JUDGE
                                   ^ED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
